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                    UMTED STATES DISTRICT COURT FILED IN CLERK'S OFFICE
                                      for the U.S.D.C. Atlanta

                         Northern District of Georgia o ro n K
                            Atlanta Division
                                        .   .   .




                                                                  JAMES N. HATTEN, Clerk
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JAk^(/\ fiic^ecj^ KorLg^/
Plaintiff




      v. CaseNumber j *, ^- C\f~O^W-^^r}<




Defendant, ~~~^ ^ ^.^. n.^^J \JH^^ H^ffL^ ^-c'
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^c^o^^^, Mj^-y^p- ^7^3T -k-o^ V>^^^ M;i

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